Case 8:18-cv-01304-CEH-AAS Document15 Filed 02/18/20 Page 1 of 4 PagelD 74

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA,
STATE OF FLORIDA,
ex rel. CHARLES HURLEY,

Plaintiff, 30
Case No. 8:18-cv-1304-T-WAAS
V.
EX PARTE
FILE UNDER SEAL
[31 U.S.C. § 3730(b)(2)]
MOTIVATIONAL COACHES

OF AMERICA, INC.;
WENTWORTH HAMPSHIRE, INC.;
JULIO AVAEL, an individual; and
CHARITY SAVAGE, an individual,

Defendants.
/

 

ORDER

This cause comes before the Court on the United States’ Notice of Election to Decline
Intervention, whereby the United States has given notice of its decision to decline
intervention in this action pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B).
Upon consideration thereof, it is hereby ORDERED:

1. The Complaint shall be unsealed and served upon the defendants.

2. All other contents of the Court’s file in this action shall remain under seal and
not be made public or served upon the defendants, except for this Order, the United
States’ Notice of Election to Decline Intervention, and the State of Florida’s Notice of Non-

Intervention, which the relator will serve upon the defendants only after service of
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Case 8:18-cv-01304-CEH-AAS Document15 Filed 02/18/20 Page 2 of 4 PagelD 75

 
Case 8:18-cv-01304-CEH-AAS Document 15 Filed 02/18/20 Page 3 of 4 PagelD 76

process has been effected on the defendants.

3. The seal shall be lifted as to all other matters occurring in this action after the
date of this Order.

4, Any party who files or otherwise serves a pleading, motion, notice or other
paper in this action shall also serve a copy of such document upon counsel for the
United States, as provided for in 31 U.S.C. § 3730(c)(3). As also provided therein, the
United States may order any deposition transcripts and is entitled to intervene in this
action, for good cause, at any time. See id.

5. A copy of all Orders, Notices, and any other papers entered in this case by the
Court shall be sent to counsel for the United States.

6. Before proposing that this action be dismissed, settled or otherwise
discontinued, the relator or the defendants shall first solicit the written consent of the
United States.

DONE and ORDERED in Chambers in Tampa, Florida, this / yer day of

ends DAA A — 2020.
EETZABETHA-KOVACHEVICH

UNITED STATES DISTRICT JUDGE

 

Copies to:
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Case 8:18-cv-01304-CEH-AAS Document 15 Filed 02/18/20 Page 4 of 4 PagelD 77

 

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